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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                )        MDL NO. 2804
OPIATE LITIGATION                           )
                                            )        Case No. 1:17-md-2804
THIS DOCUMENT RELATES TO:                   )
                                            )        JUDGE DAN AARON POLSTER
City of Rochester v. Purdue Pharma L.P., )
No. 19-op-45853 (Track 12)                  )
                                            )
Lincoln County v. Richard S. Sackler, M.D., )
No. 20-op-45069 (Track 13)                  )
                                            )
City of Independence, Missouri v. Williams, )
No. 19-op-45371 (Track 14)                  )
                                            )
County of Webb, Texas v. Purdue Pharma, )
L.P., No. 18-op-45175 (Track 15)            )
____________________________________)

  NOTICE OF FILING EXHIBIT K TO PLAINTIFFS’ AND PEC’S RESPONSE TO
EXPRESS SCRIPTS’ PROPOSED BRIEF IN SUPPORT OF OPTUMRX’S MOTION TO
                     DISQUALIFY MOTLEY RICE

       Plaintiffs and the PEC hereby note that Exhibit K referenced in its Response to Express

Scripts’ Proposed Brief in Support of OptumRx’s Motion to Disqualify Motley Rice (doc 5360)

was inadvertently unattached to the document and hereby provide same to correct their filing error.

Dated: March 15, 2024                        Respectfully submitted,


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                                CERTIFICATE OF SERVICE
       I hereby certify that on March 15, 2024, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system. Copies will be served upon counsel of record by, and may
be obtained through, the Court CM/ECF system.


                                             s/ Peter H. Weinberger
                                             Peter H. Weinberger




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